Case 2:19-cr-00120-MEF Document 500-2 Filed 08/03/23 Page 1 of 7 PageID: 25012




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA

                          v.
                                                           Criminal No. 19-120 (KM)
GORDON J. COBURN and
STEVEN SCHWARTZ


   DECLARATION OF KYLE T. SIEBER IN SUPPORT OF DEFENDANT STEVEN
             SCHWARTZ’S OMNIBUS MOTIONS IN LIMINE

              I, KYLE T. SIEBER, declare under penalty of perjury:

              1.      I am an attorney at the law firm of Paul, Weiss, Rifkind, Wharton &

Garrison LLP, counsel for defendant Steven Schwartz in this action. I submit this declaration in

support of defendant Steven Schwartz’s omnibus motions in limine.

                                            Exhibits

              2.      Attached hereto as Exhibit 1 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS_R17_0004363.

              3.      Attached hereto as Exhibit 2 is a true and correct copy of a document

produced by Dr. Bruce Robinson bearing Bates number ROBINSON-00000042, which is listed

as GX-87 on the Government’s preliminary exhibit list.

              4.      Attached hereto as Exhibit 3 is a true and correct copy of a document

produced by Dr. Kip Dolphin bearing Bates number DOLPHIN-00000011, which is listed as

GX-88 on the Government’s preliminary exhibit list.

              5.      Attached hereto as Exhibit 4 is a true and correct copy of a document

produced by Dr. Bruce Robinson bearing Bates number ROBINSON-00000040, which is listed

as GX-89 on the Government’s preliminary exhibit list.
Case 2:19-cr-00120-MEF Document 500-2 Filed 08/03/23 Page 2 of 7 PageID: 25013




              6.      Attached hereto as Exhibit 5 is a true and correct copy of a document

produced by Dr. Kip Dolphin bearing Bates number DOLPHIN-00000003, which is listed as

GX-108 on the Government’s preliminary exhibit list.

              7.      Attached hereto as Exhibit 6 is a true and correct copy of a document

produced by Dr. Bruce Robinson bearing Bates number ROBINSON-00000039, which is listed

as GX-118 on the Government's preliminary exhibit list.

              8.      Attached hereto as Exhibit 7 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0011056, which is listed as GX-119 on the

Government's preliminary exhibit list.

              9.      Attached hereto as Exhibit 8 is a true and correct copy of a document

produced by Dr. Kip Dolphin bearing Bates number DOLPHIN-00000004, which is listed as

GX-120 on the Government’s preliminary exhibit list.

              10.     Attached hereto as Exhibit 9 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0010946, which is listed as GX-121 on the

Government's preliminary exhibit list.

              11.     Attached hereto as Exhibit 10 is a true and correct copy of a document

produced by Dr. Kip Dolphin bearing Bates number DOLPHIN-00000009, which is listed as

GX-126 on the Government’s preliminary exhibit list.

              12.     Attached hereto as Exhibit 11 is a true and correct copy of a document

produced by Dr. Bruce Robinson bearing Bates number ROBINSON-00000037, which is listed

as GX-130 on the Government’s preliminary exhibit list.




                                               2
Case 2:19-cr-00120-MEF Document 500-2 Filed 08/03/23 Page 3 of 7 PageID: 25014




               13.    Attached hereto as Exhibit 12 is a true and correct copy of a document

produced by Dr. Kip Dolphin bearing Bates number DOLPHIN-00000010, which is listed as

GX-154 on the Government’s preliminary exhibit list.

               14.    Attached hereto as Exhibit 13 is a true and correct copy of a document

produced by Dr. Bruce Robinson bearing Bates number ROBINSON-00000035, which is listed

as GX-225 on the Government’s preliminary exhibit list.

               15.    Attached hereto as Exhibit 14 is a true and correct copy of a document

produced by Dr. David Becker bearing Bates number BECKER-00000001, which is listed as

GX-227 on the Government's preliminary exhibit list.

               16.    Attached hereto as Exhibit 15 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-NBC-00000001, which is listed as GX-

113 on the Government's preliminary exhibit list.

               17.    Attached hereto as Exhibit 16 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0010832, which is listed as GX-116 on the

Government's preliminary exhibit list.

               18.    Attached hereto as Exhibit 17 is a true and correct copy of a document

produced by StubHub bearing Bates number STUBHUB-0000000006, which is listed as GX-228

on the Government's preliminary exhibit list.

               19.    Attached hereto as Exhibit 18 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-EH-0000000145.

               20.    Attached hereto as Exhibit 19 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-EH-0000000203.




                                                3
Case 2:19-cr-00120-MEF Document 500-2 Filed 08/03/23 Page 4 of 7 PageID: 25015




               21.     Attached hereto as Exhibit 20 is a true and correct excerpt of a letter dated

June 15, 2022, from Nicholas Grippo and Gerald Moody, Jr. to defense counsel for Steven

Schwartz.

               22.     Attached hereto as Exhibit 21 is a true and correct excerpt of the transcript

of a hearing in this case held on April 18, 2023, which is also included on the docket for this case

at ECF No. 473.

               23.     Attached hereto as Exhibit 22 is a true and correct excerpt of the transcript

of a hearing in this case held on April 19, 2023, which is also included on the docket for this case

at ECF No. 476.

               24.     Attached hereto as Exhibit 23 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS_R17_0004324.

               25.     Attached hereto as Exhibit 24 is a true and correct copy of a document

produced by L&T bearing Bates number LT00005782.

               26.     Attached hereto as Exhibit 25 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-LT-LTR-00000021.

               27.     Attached hereto as Exhibit 26 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-LT-LTR-00000023.

               28.     Attached hereto as Exhibit 27 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-LT-LTR-00000055.

               29.     Attached hereto as Exhibit 28 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-LT-LTR-00000030.

               30.     Attached hereto as Exhibit 29 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-302-00000144.



                                                 4
Case 2:19-cr-00120-MEF Document 500-2 Filed 08/03/23 Page 5 of 7 PageID: 25016




              31.     Attached hereto as Exhibit 30 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-302-00000152.

              32.     Attached hereto as Exhibit 31 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-302-00000192.

              33.     Attached hereto as Exhibit 32 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-LT-LTR-00000039.

              34.     Attached hereto as Exhibit 33 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-LT-LTR-00000042.

              35.     Attached hereto as Exhibit 34 is a true and correct copy of an Economic

Times article by Rachita Prasad & Jochelle Mendonca, titled “L&T ‘Unfairly Doubted’ for

Alleged Role in Cognizant Bribery Case: Subrahmanyan,” dated March 28, 2019.

              36.     Attached hereto as Exhibit 35 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-EH-0000000095.

              37.     Attached hereto as Exhibit 36 is a true and correct copy of a document

produced by the Government bearing Bates number DOJ-EH-0000000142.

              38.     Attached hereto as Exhibit 37 is a true and correct copy of a Department

of Justice Press Release dated February 15, 2019, titled “Former President and Former Chief

Legal Officer of Publicly Traded Fortune 200 Technology Services Company Indicted in

Connection with Alleged Multi-Million Dollar Foreign Bribery Scheme.”

              39.     Attached hereto as Exhibit 38 is a true and correct copy of a Securities and

Exchange Commission Press Release dated February 15, 2019, titled “Securities and Exchange

Commission, SEC Charges Cognizant and Two Former Executives with FCPA Violations.”




                                               5
Case 2:19-cr-00120-MEF Document 500-2 Filed 08/03/23 Page 6 of 7 PageID: 25017




               40.     Attached hereto as Exhibit 39 is a true and correct copy of a letter dated

February 18, 2019 from N. Hariharan to the National Stock Exchange of India.

               41.     Attached hereto as Exhibit 40 is a true and correct copy of a letter dated

February 28, 2019 from N. Hariharan to the National Stock Exchange of India.

               42.     Attached hereto as Exhibit 41 is a true and correct copy of a Business

Standard article by T. E. Narasimhan, titled “L&T to Seek External Help on Cognizant Bribery

Case,” dated March 2, 2019.

               43.     Attached hereto as Exhibit 42 is a true and correct copy of a letter dated

October 24, 2019 from N. Hariharan to the National Stock Exchange of India.

               44.     Attached hereto as Exhibit 43 is a true and correct excerpt of a letter dated

December 15, 2020 from Nicholas Lewin to Nicholas Grippo, David Last, and Sonali Patel.

               45.     Attached hereto as Exhibit 44 is a true and correct excerpt of the transcript

of a hearing in this case held on January 6, 2021, which is also included on the docket for this

case at ECF No. 137.

               46.     Attached hereto as Exhibit 45 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0000119, which is listed as GX-105 on the

Government’s preliminary exhibit list.

               47.     Attached hereto as Exhibit 46 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0000122, which is listed as GX-111 on the

Government’s preliminary exhibit list.

               48.     Attached hereto as Exhibit 47 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0103589.




                                                 6
Case 2:19-cr-00120-MEF Document 500-2 Filed 08/03/23 Page 7 of 7 PageID: 25018



             49.     Attached hereto as Exhibit 48 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0101575.

             50.     Attached hereto as Exhibit 49 is a true and correct copy of a document

produced by Cognizant bearing Bates number CTS-0101576.


             I declare under penalty of perjury that the foregoing is true and correct.

Dated:   New York, New York
         August 3, 2023


                                                   K      . Sieber
                                                   PAUL, WEISS, FKIND,
                                                   WHARTON & GARRISON LLP
                                                   1285 Avenue of the Americas
                                                   New York, NY 10019
                                                   (212) 373-3000
                                                   ksieber@paulweiss.com

                                                   Attorneyfor Defendant
                                                   Steven Schwartz




                                              7
